            Case:
ILND 450 (Rev.        1:17-cv-07238
               10/13) Judgment                Document
                               in a Civil Action         #: 405 Filed: 10/19/21 Page 1 of 1 PageID #:13551

                                    IN THE UNITED STATES DISTRICT COURT
                                                  FOR THE
                                       NORTHERN DISTRICT OF ILLINOIS

 Randy J. Africano,

 Plaintiff,
                                                                  Case No. 17-cv-07238
 v.                                                               Judge Mary M. Rowland

 Atrium Medical Corporation,

 Defendant.

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                 in favor of plaintiff(s)
                 and against defendant(s)
                 in the amount of $       ,

                          which        includes       pre–judgment interest.
                                       does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


               in favor of defendant Atrium Medical Corporation
               and against plaintiff Randy J. Africano.
         Defendant shall recover costs from plaintiff.


                 other:

This action was (check one):

      tried by a jury with Judge Mary M. Rowland presiding, and the jury has rendered a verdict.
      tried by Judge Mary M. Rowland without a jury and the above decision was reached.
      decided by Judge Mary M. Rowland on a motion



Date: 10/19/2021                                              Thomas G. Bruton, Clerk of Court

                                                     Dawn A. Moreno, Deputy Clerk
